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              EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK

____________________________________

DEBORAH LAUFER,

                                 Plaintiff,              Civil Action No. 20-cv-366

                                                         Hon. Lawrence J. Vilardo
vs.
                                                         Magistrate Michael J. Roemer
FIRST STREET GROUP LLC,

                        Defendant.
_____________________________________

                          NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendant, First Street Group, LLC, respectfully submits this Notice of Supplemental

Authority to inform the Court of the decision by the United States District Court for the

Northern District of Florida in Laufer v. Arpan, LLC, No. 1:19-cv-200-AW-GRJ (Sept. 25,

2020) (Winsor, J.), attached hereto (the "Arpan Case").

         The Arpan Case involves an action by Deborah Laufer, the Plaintiff in the within

action, wherein she pleaded claims for violation of Title III of the Americans with Disabilities

Act against a hotel operator in Plaintiff's home state of Florida. Like the within action, the

claims pursued by Plaintiff in the Arpan Case also involved alleged violations of web

accessibility requirements promulgated under 28 C.F.R. § 36.302(e).

         In the Arpan Case, the Plaintiff's factual allegations as recited by the Court in the

attached decision are nearly identical to the allegations of the Plaintiff in the within action.

The defendant in the Arpan Case moved to dismiss on the basis that Plaintiff lacked standing

due to the absence of a concrete and particularized injury.




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         In sum and substance, the district court held in the Arpan Case that Plaintiff's tester

status was alone insufficient to confer standing:

                 "I now conclude that Laufer has not established any
                 legally cognizable injury.

                 As her attorney indicated at the hearing, and as her
                 briefing confirms, Laufer’s asserted injury is this: She
                 cannot view on the Value Inn website information
                 that ADA regulations say should be on the Value Inn
                 website. This is not enough. Laufer asserts no need
                 for the information—no use for it whatsoever. . . .

                 Because the claimed 'injury' is not the type of
                 constitutional injury that
                 confers standing, the court lacks Article III
                 jurisdiction."

         In addition, the Arpan Case analyzes and interprets in the context of ADA web

accessibility requirements several cases relied upon by both the Plaintiff and First Street

Group, LLC in support of their respective positions in the briefing of First Street Group,

LLC's Motion to Dismiss. See, e.g. Lujan v. Defs. of Wildlife, 504 U.S. 555 at 559-60 (1992);

Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982); Houston v. Marod Supermarkets, Inc.,

733 F.3d 1323, 1328-29 (11th Cir. 2013); Carello v. Aurora Policemen Credit Union, 930 F.3d

830, 833 (7th Cir. 2019); Hernandez v. Caesars License Co., LLC, CV1906090RBKKMW,

2019 WL 4894501, at *3 (D.N.J. Oct. 4, 2019).

         Counsel for First Street Group, LLC first became aware of this decision, which was

decided only four (4) days ago, on the evening of September 28, 2020 after the Court heard

oral argument on First Street Group, LLC's Motion to Dismiss.

         Accordingly, First Street Group, LLC respectfully requests that the Court consider the

Arpan Case in support of the branch of First Street Group, LLC's Motion to Dismiss

asserting that Plaintiff lacks standing and/or permit supplemental briefing in connection with

the Arpan Case.




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Date: Buffalo, New York
      September 29, 2020

                                       WOODS OVIATT GILMAN LLP

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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

DEBORAH LAUFER,
      Plaintiff,
v.                                                Case No. 1:19-cv-200-AW-GRJ

ARPAN, LLC, d/b/a AMERICA’S BEST
VALUE INN,
     Defendant.
_______________________________/
     ORDER DENYING MOTION FOR SUMMARY JUDGMENT AND
         DISMISSING CASE FOR LACK OF JURISDICTION

      In late 2019, in this District alone, Deborah Laufer filed more than fifty ADA

lawsuits against hotel owners.1 Most have settled, but not all. This is one of the

remaining cases.


      1
         Laufer v. Krishna RNS2005 Inc., 1:19-cv-198-AW-GRJ; Laufer v. Arpan
LLC, 1:19-cv-200-AW-GRJ; Laufer v. MSB Hotels III LLC, 1:19-cv-201-MW-GRJ;
Laufer v. Abjulhussein, 1:19-cv-202-AW-GRJ; Laufer v. Kabir Inc., 1:19-cv-203-
AW-GRJ; Laufer v. Ershco LLC, 1:19-cv-204-AW-GRJ; Laufer v. Komo, Inc., 1:19-
cv-205-AW-GRJ; Laufer v. OM MAA OM LLC, 1:19-cv-206-AW-GRJ; Laufer v.
Off the Dime Inc., 1:19-cv-207-MW-GRJ; Laufer v. Jai Balaiji Inc., 1:19-cv-208-
AW-GRJ; Laufer v. Komo, Inc., 1:19-cv-209-AW-GRJ; Laufer v. 201 Miracle FWB
LLC, 1:19-cv-224-AW-GRJ; Laufer v. B J Hosp. Inc., 1:19-cv-259-AW-GRJ;
Laufer v. Bluewater Bay Hotel Grp. LLC, 1:19-cv-260-AW-GRJ; Laufer v. Tapper
& Co. Props Mgmt. Inc., 1:19-cv-261-AW-GRJ; Laufer v. BSREP II WS Hotel TRS
Sub LLC, 1:19-cv-263-AW-GRJ; Laufer v. Hariaum Invs. Inc., 1:19-cv-264-AW-
GRJ; Laufer v. AJ Hosp. FWB LLC, 1:19-cv-265-AW-GRJ; Laufer v. Bennett’s Reef
Inc., 1:19-cv-266-AW-GRJ; Laufer v. Resort Hosp. Enters. Ltd., 1:19-cv-267-AW-
GRJ; Laufer v. The Flagler of St. Augustine LLC, 1:19-cv-268-AW-GRJ; Laufer v.
Gulf Walton, Inc., 1:19-cv-269-AW-GRJ; Laufer v. Rudrah LLC, 1:19-cv-270-AW-

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      Laufer’s claim is straightforward: The ADA prohibits discrimination based on

disability in places of public accommodation. 42 U.S.C. § 12182(a). And related

regulations require hotel operators to ensure disabled persons “can make

reservations for accessible guest rooms during the same hours and in the same

manner as individuals who do not need accessible rooms.” 28 C.F.R.

§ 36.302(e)(1)(i). More specifically, hotels must “[i]dentify and describe accessible

features in the hotels and guest rooms . . . in enough detail to reasonably permit



GRJ; Laufer v. Shawn Invs. LLC, 1:19-cv-272-AW-GRJ; Laufer v. Panama City
Beach Hotel LLC, 1:19-cv-273-MW-GRJ; Laufer v. Cape San Blas Bed and
Breakfast LLC, 1:19-cv-274-AW-GRJ; Laufer v. PTW LLC, 1:19-cv-275-AW-GRJ;
Laufer v. Bennett’s Reef Inc., 1:19-cv-276-AW-GRJ; Laufer v. Krishna Ventures of
Panama City Beach, LLC, 1:19-cv-277-AW-GRJ; Laufer v. Shiva Hotel, Inc., 1:19-
cv-278-AW-GRJ; Laufer v. Ashton, LLP, 1:19-cv-279-AW-GRJ; Laufer v. Relax
Hosp. LLC, 1:19-cv-00280-AW-GRJ; Laufer v. P & R Hosp. LLC, 1:19-cv-281-
AW-GRJ; Laufer v. J & K Sai Hosp. LLC, 1:19-cv-282-AW-GRJ; Laufer v. Bay
Beach Hotel LLC, 1:19-cv-283-AW-GRJ; Laufer v. Club Destin Condo. Ass’n Inc.,
1:19-cv-287-AW-GRJ; Laufer v. EJRFA LLC, 1:19-cv-291-MW-GRJ; Laufer v.
Dolphin Cove Inn Inc., 1:19-cv-292-AW-GRJ; Laufer v. Guru Krupa Inc., 1:19-cv-
293-AW-GRJ; Laufer v. Shreya Hosp. Inc., 1:19-cv-294-AW-GRJ; Laufer v. Shiv
Shakti Hosp. LLC, 1:19-cv-295-AW-GRJ; Laufer v. ABEC Resort II LLC, 1:19-cv-
296-AW-GRJ; Laufer v. Jay Shree Hari Krishna Inc., 1:19-cv-297-AW-GRJ;
Laufer v. Astha Laxmi LLC, 1:19-cv-298-AW-GRJ; Laufer v. Hughes Resort Inc.,
1:19-cv-303-AW-GRJ; Laufer v. Temple Hill Inc., 1:19-cv-305-AW-GRJ; Laufer v.
Woodspring Suites Panama City LLC, 1:19-cv-306-AW-GRJ; Laufer v. Roya Int’l
Hotel Invs. LLC, 1:19-cv-308-MW-GRJ; Laufer v. Kus-Amba Inc., 1:19-cv-311-
AW-GRJ; Laufer v. Pine Forest Hosp. Inc., 1:19-cv-318-AW-GRJ; Laufer v. Pirates
Bay Cmty. Ass’n Inc., 1:19-cv-326-AW-GRJ; Laufer v. Surti Inv., 3:19-cv-4807-
TKW-EMT; Laufer v. EJRFA LLC, 3:19-cv-4868-MCR-MJF; Laufer v. Roya Int’l
Hotel Invs. LLC, 3:19-cv-4885-MCR-HTC; Laufer v. Panama City Beach Hotel
LLC, 5:19-cv-475-TKW-MJF.

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individuals with disabilities” to assess whether a hotel meets their needs. Id. § 36.302

(e)(1)(ii). Arpan, LLC, operates a hotel—America’s Best Value Inn—and Laufer

contends it did not comply. Laufer sued, seeking attorney’s fees and injunctive relief.

ECF No. 3.

      The parties completed discovery, and Laufer moved for summary judgment.

ECF No. 28. After a hearing, I directed additional briefing on standing, specifically

whether Laufer had any concrete and particularized injury. ECF No. 42; see also

ECF Nos. 43, 44. Having considered the parties’ arguments, I now conclude that

Laufer has not established any legally cognizable injury.

      As her attorney indicated at the hearing, and as her briefing confirms, Laufer’s

asserted injury is this: She cannot view on the Value Inn website information that

ADA regulations say should be on the Value Inn website. This is not enough. Laufer

asserts no need for the information—no use for it whatsoever. She has no plan to

ever visit the hotel or the area where it is located. With or without the information at

issue, Laufer will never stay in the Value Inn.

      Because the claimed “injury” is not the type of constitutional injury that

confers standing, the court lacks Article III jurisdiction. And that means the case

must be dismissed.




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                                          I.

       The essential facts are not disputed. Laufer suffers from several disabilities.

ECF No. 27-1 ¶ 1 (Laufer Decl.). She has difficulty walking without an assistive

device and generally uses a cane or wheelchair. She has vision impairments and

limited use of her hands. Id. These disabilities leave her unable to engage in major

life activities. Id.

       The Value Inn has a website, which Laufer accessed.2 Id. ¶ 7. The website

lacked certain information Laufer says the ADA requires, like details about the

accessibility features in each room. Id. ¶¶ 7-8. She also visited third-party travel

websites, and they likewise omitted this information about the Value Inn.

       When making travel reservations, Laufer cannot rely on generic information

about a hotel’s “accessible bathroom” or “disabled parking”; she needs more detail

to determine whether a hotel room can accommodate her disabilities. Id. The fact

that the Value Inn’s website (and third-party websites promoting the Value Inn)

omitted this detail made Laufer feel humiliated and frustrated. Id. ¶ 9.




       2
         Although there is a dispute about when Laufer accessed the website,
compare ECF No. 27-1 ¶¶ 7, 10 with ECF No. 31 at 4-5, there is no dispute that she
visited the website at some point before filing suit.

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      Although deterred, Laufer returned to the website, and she intends to again in

the future. Id. ¶¶ 9-11. As noted above, though, Laufer has no plan to visit the Value

Inn or stay there. See generally id.; see also Hrg. Transcript at 10:23-11:2.3

                                          II.

      Congress enacted the ADA “to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities.”

42 U.S.C. § 12101(b)(1). Title III of the ADA provides that “[n]o individual shall be

discriminated against on the basis of disability in the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, or accommodations of any place

of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Id. § 12182(a).

      Laufer has established that she qualifies as a person with a disability under

§ 12102 and that the Value Inn qualifies as a “place of public accommodation” under

§ 12181(7)(A). And she has presented evidence that the Value Inn’s website did not

“[i]dentify and describe accessible features in the hotels and guest rooms . . . in

enough detail to reasonably permit individuals with disabilities” to determine

whether a particular room meets their accessibility needs. 28 C.F.R. § 36.302

(e)(1)(ii). But none of this helps with the question of whether she has standing.



      3
       Citations to the hearing transcript are to the rough transcript from the August
20, 2020 hearing.
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      Article III of the Constitution limits the court’s jurisdiction to “Cases” and

“Controversies.” Lujan v. Defs. of Wildlife, 504 U.S. 555 at 559-60 (1992). Standing

is essential to the case-and-controversy requirement: it is “indispensable” to every

plaintiff’s case. Id. at 561. If a plaintiff lacks standing, the court lacks subject matter

jurisdiction. Id.; see also Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 88-89

(1998).

      To have standing, Laufer must show an injury in fact, meaning the “invasion

of a legally protected interest” that is concrete and particularized. Lujan, 504 U.S. at

560. And because she seeks injunctive relief, she must also demonstrate that it is

likely she will suffer a future injury. Houston v. Marod Supermarkets, Inc., 733 F.3d

1323, 1328-29 (11th Cir. 2013); see also Shotz v. Cates, 256 F.3d 1077, 1081 (11th

Cir. 2001). The question is whether her injury—viewing a noncompliant website—

constitutes a constitutional injury.4


      4
         The question is not whether she will, in fact, revisit the website. Laufer points
to the multifactor test from Houston, which sometimes helps in determining whether
there is a future injury. 733 F.3d at 1336-37 & n.6. (As other courts have observed,
though, the factors from Houston are not perfectly suited to address the interplay
between a website and a physical location and their conformity with the ADA,
especially when the plaintiff has no intent of visiting the physical location. See, e.g.,
Kennedy v. Sai Ram Hotels LLC, No. 8:19-CV-483-T-33JSS, 2019 WL 2085011, at
*3 (M.D. Fla. May 13, 2019) (“This Court has observed that Houston’s traditional
factor test, which was designed for cases involving physical barriers, may be
challenging to apply in cases involving websites.”); Kennedy v. Floridian Hotel,
Inc., No. 1:18-CV-20839-UU, 2018 WL 10601977, at *5 (S.D. Fla. Dec. 7, 2018)
(“[T]he application of these [Houston] factors when discussing a website, as opposed

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      As a preliminary matter, Laufer’s status as a self-described “tester” is no

obstacle. It is settled that a plaintiff’s tester motive does not foreclose standing under

Title III. Houston, 733 F.3d at 1329-34. But it is likewise settled that tester status

alone is not enough. Id. at 1334. Laufer remains subject to the same standing

requirements as every other plaintiff seeking injunctive relief. She must show a real

injury. See Carello v. Aurora Policemen Credit Union, 930 F.3d 830, 833 (7th Cir.

2019) (“A tester must still satisfy the elements of standing, including the injury-in-

fact requirement.”).5

      In Spokeo, Inc. v. Robins, the Supreme Court considered whether a technical

violation of a statute constituted a real injury for standing purposes. 136 S. Ct. 1540,

1550 (2016). The plaintiff in Spokeo sued under the Fair Credit Reporting Act,

claiming a report featured false information about him. Id. at 1546. He alleged no

harm from the false report, only that the defendant violated the Act. Id.




to physical property, is uncertain: The traditional four-factor test for future injury,
which was designed for cases involving physical barriers, is simply very challenging
to be applied here, which involves the violation of a regulation that regulates online
reservation system.” (quotation and citation omitted))). Regardless, even assuming
she will revisit the website, that would not constitute a cognizable future injury. She
can show no future injury for the same reason she has shown no past injury.
      5
        The tester plaintiff in Houston easily satisfied the standing requirement. He
alleged that he encountered architectural barriers at a market he visited and that he
planned to return to the market in the future. 733 F.3d at 1326.
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      The Court concluded that Article III requires more than a “bare procedural

violation.” Id. at 1550. It reasoned that while Congress can elevate an intangible

harm to create a statutory right, violation of that right will not confer standing if it is

“divorced from any concrete harm.” Id. at 1549-50 (citing Summers v. Earth Island

Inst., 555 U.S. 488, 496 (2009), and Lujan, 504 U.S. at 572); see also id. at 1547-48

(“Congress cannot erase Article III’s standing requirements by statutorily granting

the right to sue to a plaintiff who would not otherwise have standing.” (quoting

Raines v. Byrd, 521 U.S. 811, 820 n.3 (1997))); Nicklaw v. CitiMortgage, Inc., 855

F.3d 1265, 1268 (11th Cir. 2017) (Pryor, J., respecting denial of rehearing en banc)

(“[T]he violation of a legal right alone does not satisfy the concrete injury

requirement.”).

      As applied in Spokeo, the Court recognized that even if the defendant violated

the statute by reporting incorrect information, that violation did not necessarily

“cause harm or present any material risk of harm.” 136 S. Ct. at 1550; see also Thole

v. U. S. Bank N.A., 140 S. Ct. 1615, 1620-22 (2020) (holding that the “plaintiffs have

no concrete stake in this dispute and therefore lack Article III standing” when

“[w]inning or losing this suit would not change the plaintiffs’ monthly pension

benefits.”). As applied here, assuming the Value Inn violated the ADA (or related

regulations) by omitting details on its website, Laufer has not shown that the




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violations caused her real harm. Information about a hotel’s available rooms does

not help those who (like Laufer) have no interest in booking a room.

      Other ADA cases support this point. In Griffin v. Department of Labor

Federal Credit Union, for example, a blind plaintiff sued under Title III of the ADA,

claiming a credit union’s website was not accessible. 912 F.3d 649, 652 (4th Cir.

2019). The plaintiff alleged the ADA required the website to be compatible with his

screen-reading software and that because it was not, his efforts to access the website

were stymied. Id. Citing Spokeo, the Fourth Circuit found the claimed injury neither

concrete nor particularized. Id. at 654-56.

      The plaintiff was ineligible for membership in the credit union, and the court

concluded that no real injury flowed from his missing out on information that would

never benefit him. Id. at 654. The court held that the “[i]nability to obtain

information is sufficiently concrete to constitute injury in fact only when the

information has some relevance to the litigant.” Id. (citing Fed. Election Comm’n v.

Akins, 524 U.S. 11, 21 (1998)). In Griffin, the plaintiff’s ineligibility “close[d] the

door of the Credit Union to Griffin whether or not he obtains the information he

seeks.” Id. at 654. Here, Laufer is not precluded from doing business with the Value

Inn, but she might as well be: she has announced that she has no plans to go to there.

      The court in Griffin also found the claimed injury was not particularized

because the website treated the plaintiff the same as everyone else. Id. at 654-55. An

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intent to visit a physical location may supply a sufficient “particularizing

connection” between a website and that location, but without that intent, there was

nothing to differentiate the plaintiff from any member of the general public. Id. at

655. The court equated the legal barriers that precluded the plaintiff from joining the

credit union to the geographic barriers that prevent a person from being injured by a

faraway inaccessible location they never intend to visit. Id. at 656 (citing Houston,

733 F.3d at 1334, 1336). Here, too, there is nothing to differentiate Laufer’s harm

from the harm of any other person who visits the website and discovers

noncompliance with regulations.

      Laufer does say that the website violation frustrated and humiliated her. And

to be sure, dignitary and stigmatic harms can constitute an injury in fact. Allen v.

Wright, 468 U.S. 737, 754-55 (1984), abrogated on other grounds by Lexmark Int’l,

Inc. v. Static Control Components, Inc., 572 U.S. 118, 129-30 (2014); see also

Tennessee v. Lane, 541 U.S. 509, 536 (2004) (Ginsburg, J., concurring) (noting that

the ADA was enacted, in part, to protect the disabled from stigmatic harms). But

“not all dignitary harms are sufficiently concrete to serve as injuries in fact,” Griffin,

912 F.3d at 654, and Laufer has not shown any such harm that would support

standing. “[M]erely browsing the web, without more, isn’t enough to satisfy Article

III.” Brintley v. Aeroquip Credit Union, 936 F.3d 489, 494 (6th Cir. 2019); accord

id. (“The internet is a vast and often unpleasant place. It contains plenty that may

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offend, and those who set out looking for dignitary slights won’t be disappointed.”);

Carello, 930 F.3d at 834 (“[D]ignitary harm stemming from the mere knowledge

that discriminatory conduct is occurring is an ‘abstract stigmatic injury’ that the

plaintiff lacks standing to vindicate.” (quoting Allen, 468 U.S. at 755-56)).

      The bottom line is that, like the plaintiff in Griffin, Laufer has shown no

concrete and particularized injury. She has shown only that the website omitted

information that would be useless to her. And whatever harm she has shown is the

same harm every other website visitor would suffer. See also Carello, 930 F.3d at

834 (citing Griffin and Spokeo and holding that plaintiff ineligible for credit union

membership lacked standing to bring ADA challenge regarding website

accessibility); Brintley, 936 F.3d 489 (same); Price v. Orlando Health, Inc., No.

617CV1999ORL40DCI, 2018 WL 6434519, at *1, *4-5 (M.D. Fla. Dec. 7, 2018)

(holding that blind plaintiff lacked standing to sue hospital over inaccessible website

when he had no concrete plans to visit the hospital); Hernandez v. Caesars License

Co., LLC, CV1906090RBKKMW, 2019 WL 4894501, at *3 (D.N.J. Oct. 4, 2019)

(“In this case, Defendant’s alleged non-disclosure of accessibility information could

conceivably harm a person with disabilities, provided that person was actually

looking for a place to stay in Atlantic City. But Plaintiff is not such a person. He had

no interest in staying at Harrah’s. Rather, his sole interest in visiting the Website was

to determine if it complied with the ADA, and there is no allegation that Defendant’s

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conduct impeded him in that quest. Because Plaintiff cannot show harm stemming

from Defendant’s non-disclosure, he cannot show concrete injury.” (citations

omitted)).

      Unable to distinguish Spokeo in any meaningful way, Laufer points to a

different case, Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982). In that case,

tester plaintiffs investigated whether defendants were violating the Fair Housing Act

through “racial steering.” Id. at 366. Two plaintiffs—one black and one white—

inquired about the availability of apartments. The white plaintiff was told there was

availability; the black plaintiff was told there was not. Id. at 367-69. Standing was

among the issues in the case, and the Court found that the black tester plaintiff had

standing even though she did not intend to rent an apartment. Id. at 373-74.

      In Laufer’s view, she is just like that plaintiff. ECF No. 43 at 3. Her logic is

this: the Havens Realty plaintiff was a tester who never intended to rent an

apartment; she is a tester who never intended to visit the Value Inn; because the

plaintiff in Havens Realty had standing, she should too. But Laufer’s case is different

in several ways. First, there were multiple plaintiffs in Havens Realty. One of the

plaintiffs, a non-profit organization, had standing because the defendants’ racial

steering practices impaired its ability to provide services and drained its resources.

Id. at 378-79. Because standing as to any one plaintiff is enough, Rumsfeld v. Forum




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for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006), the standing of the

tester plaintiff was not essential.

      More importantly, though, the Havens Realty defendants intentionally

discriminated against the tester plaintiff based on racial animus. Id. at 373-74. They

told white prospective renters one thing, and they told black prospective renters a

different (and false) thing. The tester plaintiff, who was “the object of a

misrepresentation made unlawful under § 804(d),” thus “suffered injury in precisely

the form the statute was intended to guard against.” Id. at 373-74. Laufer cannot

show she suffers the harm the ADA was designed to guard against. The substantive

Title III right at issue is the right “to be free from disability discrimination in the

enjoyment of the facility.” Houston, 733 F.3d at 1332. The regulation requiring

hotels to include certain information on their websites—28 C.F.R. § 36.302(e)(1)—

is specifically tied to 42 U.S.C. § 12182, which prevents discrimination in the

enjoyment of a facility. There is no standalone right to have certain information on

a website.

      Moreover—and relatedly—the tester plaintiff in Havens Realty had a

particularized injury: she was directly lied to and discriminated against. Laufer, on

the other hand, faced no particularized harm. She had access to the same information

as everyone else.




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      Finally, the tester plaintiff’s injury in Havens Realty included the withholding

of information she was entitled to. The defendants kept from her (because of her

race) the fact that apartments were available. Id. at 368-69, 373-74. Laufer argues

that she, too, was deprived of information, but she never alleged—much less

provided evidence—that the hotel kept information from her. She never alleged that

she could not find out everything she wanted by, say, calling the Value Inn. She

alleged, instead, only the technical violation of the hotel’s not putting that same

information on its website. Cf. Carello, 930 F.3d at 835 (noting that case was “about

accessibility accommodations, not disclosure” and that plaintiff “does not complain

that the Credit Union withheld information . . . [or] that the information was wholly

inaccessible to him”; the “alleged injury flows from the Credit Union’s failure to

support [plaintiff’s] software, not its refusal to disclose information about its

services”).6

                                        III.

      Standing requires an injury that is concrete and particularized—an injury that

is “‘real,’ and not ‘abstract.’” Spokeo, 136 S. Ct. at 1548. Laufer has not shown any


      6
         This also shows why Laufer’s reliance on Federal Election Commission v.
Akins, 524 U.S. 11 (1998), is misplaced. There, the plaintiffs had standing because
they were denied access to information and they had no way of receiving it but for
their claim against the FEC. Id. at 21. Further contrasting with Laufer, those
plaintiffs had a reason for wanting the information: to help them in evaluating
candidates for public office. Id. Laufer has no such reason.

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such injury. Because Laufer has not established standing, she is not entitled to

summary judgment. Her motion (ECF No. 28) is therefore DENIED. 7 Normally,

denial of summary judgment would result in a trial. But because Laufer’s lack of

standing deprives the court of jurisdiction, dismissal is appropriate. We are long past

the deadline to amend, and at the recent hearing, Laufer’s counsel agreed that if I

concluded her asserted injury—her inability to access information on the website—

was insufficient to confer standing, dismissal would be appropriate.

      Accordingly, the clerk will enter judgment that says, “This case is dismissed

for lack of jurisdiction.” The clerk will then close the file.

      SO ORDERED on September 25, 2020.

                                         s/ Allen Winsor
                                         United States District Judge




      7
         None of this is to say that Laufer’s goal was improper or that her concerns
were invalid. Indeed, courts must be “sensitive to the formidable challenges
[disabilities] impose on the navigation of everyday life.” Griffin, 912 F.3d at 656.
But the limitations of federal courts’ authority apply to this case as any other.
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